Oo SN DN OW BR HY he

10
1]
12

13.

14
15
16
17
18
19
20
21
ao
23
24
25
26
27
28

_ Assistant U.S. Attorney JAN 2.8 2021

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 1 of 12

     
 

MICHAEL BAILEY p Seeman
United States Attorney j}___ FILED
District of Arizona __.. RECEIVED _ COPY

MONICA B. KLAPPER — RECEIVE) — LOoaEg

Arizona State Bar No. 013755 —~ COpy

Two Renaissance Square CLERK US DISTRICT CO
40 N. Central Ave., Suite 1800 py ARON ar |! OCT 20 202 1
Phoenix, Arizona 85004 [ By ‘ pepury |! CLERK U § pyg

Telephone: 602-514-7500 — I DIS
fmatte Monica.Klapper@usdoj.gov rif BY BT OF as COU AT
Attorneys for Plaintiff DEPUTy

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

 

United States of America, No. CR-21-00056-PHX-JAT
Plaintiff, os
PLEA AGREEMENT
vs.
Steven A. Turner,

Defendant.

 

The United States and Defendant Steven A. Turner agree to dispose of this matter
on the following terms and conditions:
1. PLEA
Defendant will plead guilty to Count 1 of the information, charging him with
securities fraud, a class B felony offense, in violation of 15 U.S.C. § 78j(b) & 17 C.F.R. §
240-10b-5.
2 MAXIMUM PENALTIES
a. Pursuant to 15 U.S.C. § 78ff, securities fraud is punishable by 20 years in
prison, a maximum fine of $5 million, or both, and a term of supervised release of 3 years.
The maximum term of probation is 5 years.
b. According to the Sentencing Guidelines issued pursuant to the Sentencing
Reform Act of 1984, the Court shall order Defendant to:

(1) make restitution to any victim of the offense pursuant to 18 U.S.C.

 

 
Me NM KH DB DO BR RD RD ORD eee mes
oo SN AO OH ee BR NR! OO OULU UN UCONN OD

oO 6 WN wn mB BY Be

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 2 of 12

§ 3663 and/or 3663A, unless the Court determines that restitution would not be
appropriate;

(2) pay a fine pursuant to 18 U.S.C. § 3572, unless the Court finds that a
fine is not appropriate;

(3) serve a term of supervised release when required by statute or when a
sentence of imprisonment of more than one year is imposed (with the understanding that
the Court may impose a term of supervised release in all other cases); and

(4) pay upon conviction a $100 special assessment for each count to
which Defendant pleads guilty pursuant to 18 U.S.C. § 3013.

C The Court is required to consider the Sentencing Guidelines in determining
Defendant’s sentence, However, the Sentencing Guidelines are advisory, and the Court is
free to exercise its discretion to impose any reasonable sentence up to the maximum set by
statute for the crimes of conviction, unless there are stipulations to the contrary that the
Court accepts.

3. AGREEMENTS REGARDING SENTENCING

a. Stipulations. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the parties agree that
Defendant’s sentence shall not exceed the low end of the sentencing range as calculated |
under U.S.S.G. § 1B1.1(a), This stipulated sentencing cap will not change based on
departures considered under U.S.S.G. § 1B1.1(b). Nothing in this agreement shall preclude —
Defendant from moving for a downward departure, variance, or sentence below the cap, or
preclude the Court from imposing a sentence below the cap.

b. Restitution. Pursuant to 18 U.S.C. § 3663 and/or 3663A, Defendant
specifically agrees to pay full restitution, regardless of the resulting loss amount, but in no
event more than $14,551,000, to all victims directly or proximately harmed by Defendant’s
“relevant conduct,” including conduct pertaining to any dismissed counts or uncharged
conduct, as defined by U.S.S.G. § 1B1.3. Defendant understands that such restitution will
be included in the Court’s Order of Judgment and that an unanticipated restitution amount

will not serve as grounds to withdraw Defendant's guilty plea or to withdraw from this plea

-2-

 

 
BR BD BD KR RD DD RD RD Det tke

—

Oo Co OO SS HB TA SP WH LY

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 3 of 12

agreement.

C, Assets and Financial Responsibility. Defendant shall make a full accounting
of all assets in which Defendant has any legal or equitable interest. Defendant shall not
(and shall not aid or abet any other party to) sell, hide, waste, spend, or transfer any such
assets or property, without the prior approval of the United States (provided, however, that
no prior approval will be required for routine, day-to-day expenditures). Defendant also
expressly authorizes the United States Attormey’s Office to immediately obtain a credit
report as to Defendant in order to evaluate his ability to satisfy any financial obligation
imposed by the Court. Defendant also shall make full disclosure of all current and
projected assets to the U.S. Probation Office immediately and prior to the termination of
his supervised release or probation, such disclosures to be shared with the U.S. Attorney’s
Office, including the Financial Litigation Unit, for any purpose. Finally, Defendant shall
participate in the Inmate Financial Responsibility Program to fulfill all financial obligations
due and owing under this agreement and the law.

- dd Acceptance of Responsibility. If Defendant makes full and complete
disclosure to the U.S. Probation Office of the circumstances surrounding his commission
of the offense, and if he demonstrates an acceptance of responsibility for this offense up to
and including the time of sentencing, the United States will recommend a two-level
reduction in the applicable Sentencing Guidelines offense level pursuant to U.S.S.G. §
3E1.1(a). If Defendant has an offense level of 16 or more, the United States will move the — .
Court for an additional one-level reduction in the applicable Sentencing Guidelines offense ~
level pursuant to U.S.S.G. § 3E1.1(b). Defendant understands that recommendations are |
not binding on the Court. Defendant further understands that he will not be permitted to |
withdraw the guilty plea if the Court does not follow a recommendation.

4, AGREEMENT TO DISMISS OR NOT TO PROSECUTE
This agreement does not in any mamner restrict the actions of the United States in

any other district or bind any other United States Attorney’s Office.

 

 

 
CC —~ ON

10
il
12
13
14
15
16
17
18
19

21
22
23
24
25
26
27
28

mB Ww be

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 4 of 12

5. COURT APPROVAL REQUIRED; REINSTITUTION OF PROSECUTION

a. If the Court, after reviewing this plea agreement, concludes that any
provision contained herein is inappropriate, it may reject the plea agreement and give
Defendant the opportunity to withdraw the guilty plea in accordance with Fed. R. Crim. P.
11(¢)(5).

b. If Defendant’s guilty plea or plea agreement is rejected, withdrawn, vacated,
or reversed at any time, this agreement shall be null and void, the United States shall be
free to prosecute Defendant for all crimes of which it then has knowledge and any charges
that have been dismissed because of this plea agreement shall automatically be reinstated.
In such event, Defendant waives any and all objections, motions, and defenses based upon
the statute of limitations, the Speedy Trial Act, or constitutional restrictions in bringing
later charges or proceedings. Defendant understands that any statements made at the time
of his change of plea or sentencing may be used against him in any subsequent hearing,
trial, or proceeding subject to the limitations of Fed. R. Evid. 410.

6. WAIVER OF DEFENSES AND APPEAL RIGHTS

Defendant waives: (1) any and all motions, defenses, probable cause determinations,
and objections that he could assert to the indictment or information; and (2) any right to |
file an appeal, any collateral attack, and any other writ or motion that challenges the
conviction, an order of restitution or forfeiture, the entry of judgment against Defendant,
or any aspect of Defendant's sentence, including the mammer in which the sentence is
determined, including but not limited to any appeals under 18 U.S.C. § 3742 (sentencing
appeals) and motions under 28 U.S.C. §§ 2241 and 2255 (habeas petitions), and any right
to file a motion for modification of sentence, including under 18 U.S.C. § 3582(c). This
waiver shall result in the dismissal of any appeal, collateral attack, or other motion
Defendant might file challenging the conviction, order of restitution or forfeiture, or
sentence in this case. This waiver shall not be construed to bar an otherwise-preserved.
claim of ineffective assistance of counsel or of “prosecutorial misconduct” (as that term is

defined by Section IB of Ariz. Ethics Op. 15-01 (2015)).

-4-

 

 

 

 
mw
o

pth eh
~~ OA UU ee WD we Re

fem
ow

Oo CG ~F DB UW BP WW NM

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 5 of 12

7, DISCLOSURE OF INFORMATION

a. The United States retains the unrestricted right to provide information and
make any and all statements it deems appropriate to the U.S. Probation Office and to the
Court in connection with the case.

b. Any information, statements, documents, and evidence that Defendant
provides to the United States pursuant to this agreement may be used against him at any
time.

c. Defendant shall cooperate fully with the U.S. Probation Office. Such
cooperation shall include providing complete and truthful responses to questions posed by
the U.S. Probation Office including, but not limited to, questions relating to:

Q) criminal convictions, history of drug abuse, and mental illness; and
(2) financial information, including present financial assets or liabilities
that relate to the ability of Defendant to pay a fine or restitution.
8. FORFEITURE, CIVIL, AND ADMINISTRATIVE PROCEEDINGS

a Nothing in this agreement shall be construed to protect Defendant from
administrative or civil forfeiture proceedings or prohibit the United States from proceeding
with and/or initiating an action for civil forfeiture. Pursuant to 18 U.S.C. § 3613, all
monetary penalties, including restitution imposed by the Court, shall be due immediately
upon judgment, shall be subject to immediate enforcement by the United States, and shall
be submitted to the Treasury Offset Program so that any federal payment or transfer of
returned property Defendant receives may be offset and applied to federal debts (which — |
offset will not affect the periodic payment schedule). If the Court imposes a schedule of |
payments, the schedule of payments shall be merely a schedule of minimum payments and |
shall not be a limitation on the methods available to the United States to enforce the |
judgment. !

b. Defendant agrees to forfeit, and hereby forfeits, all interest in any asset that
Defendant owns or over which he exercises control, directly or indirectly, as well as any |

property that is traceable to, derived from, fungible with, or a substitute for property that

5.

 

 

 
ht
Co wo

a
oo “EP Oo tr Be He

aut
XO

20

oOo “SO A Ow Rh WR ee

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 6 of 12

constitutes the proceeds of the offense, or which was used to facilitate the commission of

the offense, including the following property:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: Lean Number | Name Hoan Date ra ot 980/20) |
Ending 787 CM. 09/01/10 $ 92,422.02
Ending 806 ED. o9o/10 «| 35,405.82
Ending302«|MS. === LONGI | 36,370.31
Ending 447 AS. 04/09/13 | 43,165.91
Ending 706 | AZ R.E.RS., LLC | 09/15/15 15,000.00
Ending 727 LM. and L.M. 12/04/15 169,930.60
‘Ending 743. ELF. | 02/05/16 7,598.04
Ending821. | TWU. | 01/23/17 25,094.32
Ending 862 [PR Lonel? 9,307.31
Ending 878 [RMBR,LLC | 01/22/20 «| _-82,000.00
Ending 879 «| HM. ‘oaze20 =| 21,765.78
Ending 880 E.C.andC.N. | 08/01/20 | 103,292.82
Ending 795 MH, LLC 01/23/18 | 677,363.10
‘Total : $1,318,716.03

c. Defendant further agrees to waive all interest in the above-described assets

in any administrative or judicial forfeiture proceeding, whether criminal or civil, state or —
federal. Defendant agrees to consent to the entry of orders of forfeiture for the above-
described property and waives the requirements of Federal Rules of Criminal Procedure |
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment. —
Defendant further understands and agrees that forfeiture of the above-described assets is
appropriate and in accordance with the applicable forfeiture statutes, which may include
Title 8 U.S.C. § 1324(b), Title 18 U.S.C. §§ 924(d), 981, 982 and 2253, Title 21 U.S.C. §§
853 and 881, and Title 28 U.S.C. § 2461(c).

-6-

 

 

 
ory

Me BR NO NR DD ND OBR RR ee et
oOo YD KH wh me RH BP HSH OOO UmOlU OO UU SUL OUND UO

oO fe SH tH BS WY bw

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 7 of 12

d. Forfeiture of Defendant’s above-described assets shall not be treated as full
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty this Court
may impose upon Defendant in addition to forfeiture. Defendant shall receive the
appropriate credit against restitution as payments are received or as the assets are
liquidated. This agreement does not preclude the United States from instituting any civil
or administrative forfeiture proceedings as may be appropriate now or in the future.

e Defendant waives all constitutional and statutory challenges in any manner
(including direct appeal, habeas corpus, double jeopardy or any other means) to any
forfeiture of the above-described assets imposed as a result of this guilty plea or any
pending or completed administrative or civil forfeiture actions, including that the forfeiture
constitutes an excessive fine or punishment. Defendant agrees to take all steps as requested
by the United States to pass clear title to forfeitable assets to the United States, and to testify
truthfully in any judicial forfeiture proceeding. Defendant acknowledges that all property
covered by this agreement is subject to forfeiture as proceeds of illegal conduct, property
facilitating illegal conduct, and substitute assets for property otherwise subject to forfeiture,
and that no other person or entity has a legitimate claim to these items listed.

f. Defendant agrees not to file a claim to any of the listed property in any civil
proceeding, administrative or judicial, which may be initiated. Defendant further agrees :
that he will not contest civil, administrative or judicial forfeiture of the listed property.

Defendant waives his right to notice of any forfeiture proceeding involving this property,

and agrees not to file a claim or assist others in filing a claim in that forfeiture proceeding.

g. The United States reserves its right to proceed against any remaining assets
not identified either in this agreement or in any civil actions which are being resolved along -
with this plea of guilty, including any property in which Defendant has any interest or
control, if said assets, real or personal, tangible or intangible were involved in the offense.

h. Defendant hereby waives, and agrees to hold the United States and its agents
and employees harmless from any and all claims whatsoever in connection with the seizure,

forfeiture, and disposal of the property described above. Without limitation, Defendant

-7~

 

 
NM NM h KN bk NO No Bw NO poh eel a ee pe —
oO sO wn B&B BH NE DO OU UU Ot Oe lUhUUNOUL CUS

Oo 68 WKH mH B&B WH He

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 8 of 12

understands and agrees that by virtue of this plea of guilty, Defendant will waive any rights

or cause of action that Defendant might otherwise have had to claim that he is a

“substantially prevailing party” for the purpose of recovery of attorney fees and other
litigation costs in any related civil forfeiture proceeding pursuant to 28 U.S.C. § 2465(b)(1).
9. ELEMENTS
Securities Fraud, 15 U.S.C. § 78j(b) & 17 C.ELR. § 240-10b-5
Between about January of 2013 and the present, in the District of Arizona and

elsewhere:

1. Defendant acted in connection with the purchase or sale of a security;

2. Defendant knowingly and willfully employed a scheme or artifice to defraud,
made untrue material statements or omitted a statement of material fact, and engaged in a
practice that operated as a fraud;

3, Defendant acted with the intent to defraud; and

4, Defendant used, or caused to be used, a means or instrumentality of interstate
commerce or the mail.
10. FACTUAL BASIS

Defendant admits that the following facts are true and that if this matter were to
proceed to trial the United States could prove the following facts beyond a reasonable _
doubt:

I am the sole owner and operator of Coyote Capital Investments, LLC. Through |
Coyote Capital, I offered investments in short-term, high-interest loans (also known as
“hard money loans”) made to third parties to purchase distressed real estate. Through a
2009 Coyote Capital private placement memorandum (“PPM”), and orally, I promised —
investors, among other things, that: (1) their funds would be used solely for this purpose;
and (2) their funds would be secured by a first lien position in the real estate underlying
the hard-money loan. I used the 2009 PPM for all subsequent years.

In approximately 2013, I began diverting investor funds from their intended

purpose, intentionally deceiving investors. Instead of using the funds to make hard money

-8-

 

 
oO fo “S BH A FS We NH

MN NM HR NY BM NO Ne TR RP PE SE PrP RS SO
wo a TF ww BR SD BP eS So Oo mW ON DK A Se Ye YF

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 9 of 12

loans secured by real estate, I loaned the funds to a company called Knockout Gaming,
LLC, owned and operated by G.K. I believed Knockout Gaming was developing software
for on-line gaming, and it had an office in Scottsdale, Arizona. Between 2013 and the
present, I diverted at least $11 million dollars of Coyote Capital’s investor funds to

Knockout Gaming. By way of example, on September 26, 2018 I received a $150,000

~ Coyote Capital investment from M.G. under the 2009 PPM, wired into the Coyote Capital

operating account that I control. Instead of using the funds as promised, I wired the funds
to Knockout Gaming on the same day.

Knockout Gaming has failed to produce a product that has generated revenue or
otherwise earn any revenue, and the company’s Scottsdale office has closed. I have not
received any interest on the amounts I loaned to Knockout Gaming, and none of the
principal has been returned to me. I defaulted on the monies due to the Coyote Capital
investors, causing more than $14 million in losses, as specified in the charging document.
Throughout this fraud, I used or caused the use of interstate wires, which I understand are
a means or instrumentality of interstate commerce.

Defendant shall swear under oath to the accuracy of this statement and, if Defendant
should be called upon to testify about this matter in the future, any intentional material
inconsistencies in his testimony may subject him to additional penalties for perjury or false

swearing, which may be enforced by the United States under this agreement.

APPROVAL AND ACCEPTANCE OF DEFENDANT
I have read the entire plea agreement with the assistance of my attorney. I
understand each of its provisions and I voluntarily agree to it.
I have discussed the case and my constitutional and other rights with my attorney. .
L understand that by entering my plea of guilty I shall waive my rights to plead not guilty, =
to trial by jury, to confront, cross-examine, and compel the attendance of witnesses, to
present evidence in my defense, to remain silent and refuse to be a witness against myself |

by asserting my privilege against self-incrimination, all with the assistance of counsel, and

-9-

 

 

 
te Bt

10

12
13
14
15
16
17
18
19

21
22

24
25
26
27
28

Oo Cf SHR NH

 

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 10 of 12

to be presumed innocent until proven guilty beyond a reasonable doubt.

I agree to enter my guilty plea as indicated above on the terms and conditions set
forth in this agreement.

I have been advised by my attorney of the nature of the charges to which I am
entering my guilty plea. Ihave further been advised by my attorney of the nature and range
of the possible sentence and that my ultimate sentence shall be determined by the Court
after consideration of the advisory Sentencing Guidelines.

My guilty plea is not the result of force, threats, assurances, or promises, other than
the promises contained in this agreement. I voluntarily agree to the provisions of this
agreement and I agree to be bound according to its provisions.

L understand that if I am granted probation or placed on supervised release by the
Court, the terms and conditions of such probation/supervised release are subject to
modification at any time. I further understand that if I violate any of the conditions of my
probation/supervised release, my probation/supervised release may be revoked and upon
such revocation, notwithstanding any other provision of this agreement, I may be required
to serve a term of imprisonment or my sentence otherwise may be altered.

This written plea agreement, and any written addenda filed as attachments to this —
plea agreement, contain all the terms and conditions of the plea. Any additional . |
agreements, if any such agreements exist, shall be recorded in a separate document and |
may be filed with the Court under seal; accordingly, additional agreements, if any, may not
be in the public record.

I further agree that promises, including any predictions as to the Sentencing
Guideline range or to any Sentencing Guideline factors that will apply, made by anyone
(including my attorney) that are not contained within this written plea agreement, are null
and void and have no force and effect.

Lam satisfied that my defense attorney has represented me in a competent manner.

I fully understand the terms and conditions of this plea agreement. Iam not now |

using or under the influence of any drug, medication, liquor, or other intoxicant or

-10-

 

 
Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 11 of 12

peseak

ha tat

Gi

6

wend

eel later kerod
42 US oY

ht

 

depressant that would impair my abiliry to filly understand the terms and conditions of this

plea agreement.

   

 

 

 

 

Date , steven A. Turner v
Defendant .

APPROVAL OF DEFENSE COUNSEL,

{ have discussed this case and the plea agreement with avy client in detail and have
advised Defendant of all matters withia the scope of Fed. R. Crim, P. 11, the constitational
and other righis of an ascased, the factual basis for and the nature of the offense to which
the guilty plea will be entered, possible defenses, and the consequences of the gnilty plea
inclading the maximum siatulory sentence possible. | have further discussed the concept
of the advisory Sentencing Guidelimes with Deteadant. No assurances, promises, or
represenialions have been given lo me or to Defendant by the United States or any of its
representatives that are not contained m this written agreement. I concur in the entry of
ihe plea as indicated above and that the terras and conditions set forth in this agreement are
in the best interests of my client. I agree to make a bona fide effort to ensure that the guilty
plea is entered in accordance with all the requirements of Fed. R. Crim. P. 11.
tts lacao hy —-

&

AshleAdams —
Attorney for Defendant

 

 

APPROVAL OF THE UNITED STATES
i have reviewed this mattur and the plee agreement. | agree on behalf of the United
States that the terms and conditions set forth herein are appropriate and are in the beat
interests of fustice.
MICHAEL BAILEY

United States Atlomey
District of Arizona

~ i -

 

 

 
me WwW Nome

10

iio

12
13

14}

15

16 |
17

18

19

20

21

ey
23
24

25,

a7

28

Oo Cc ~s A wr

Case 2:21-cr-00056-JAT Document 29 Filed 10/20/21 Page 12 of 12

at Digitally signed by MONICA
Ee re
Clee Da BS p fot Amo Dates 2020.11.03 14:58:56 -07°00!

Date , ~ MONICA B. KLAPPER
Assistant U.S. Attorney

 

 

ACCEPTANCE BY THE COURT

14 0072"

 

 

Date Banat JAMES A. TEILBORG
ior United States District Judge

~12-

 

 
